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AO 2458       (Rev. 09/11) Judgment in a Criminal Case
              Sheet



                                           UNITED STATES DISTRICT COURT
                                                         MIDDLE DISTRICT OF ALABAMA

              UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                   V.
                                                                                    (WO)

                  CYNTHIA MOORE SULLEN                                             Case Number: 2:1 1cr179-MEF-01
                                                                           )       USM Number: 13676-002

                                                                                    Nicole Ramos
                                                                                   Dei'ejidant's Aljornev                  -
THE DEFENDANT:
  'pleaded guilty to count(s)           1 of the Indictment on 3/22/12
El pleaded noto contendere to count(s)
   which was accepted by the Court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                           Offense Ended           Count

 42408(a)(7)(B); 182                Misuse of a Social Security Number; Aiding and Abetting                    12/7/2007               1




E Sec additional count(s) on page 2

      The defendant is sentenced as provided in pages 2 through 5 of this judgment, The sentence is imposed pursuant to the
Sentencing Rcform Act of 1984.

E The defendant has been found not guilty on count(s)
   'Count(s) 26 33 of the Indictment                       El is -- tare dismissed on the motion of the United States.                 ---

          It is ordered that the defendant niist notify the United States attorney for this district within 30 days olany change of name, residence,
orniailing address until all fines, rcstitution costs, and special assessments imposed by this judgment are fully paid. [[ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          June 26, 2012
                                                                           Date of inipos lion nt i udgmcni




                                                                           Signature of Judge
                                                                                                              J
                                                                          Mark E. Fuller, United States District Judge
                                                                           Name of,ludee                              Tale of Judge



                                                                                        s_        C41 ?°f-
                                                                           Dale
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AO 245B            (Rev. 0911]) Judgment in a Criminal Case
vl                Sheet 4—Probation

                                                                                                                          Judgment Page: 2 of 5
 DEFENDANT: CYNTHIA MOORE SULLEN
 CASE NUMBER: 2:1 1cr179-MEF-01
                                                                     PROBATION
     The defendant is hereby sentenced to probation for a term of:

      Five Years as to Count One.




     The defendant shall not commit another federal, state or local crime.
     The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
     substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
     thereafter, as determined by the court.
     El The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, fapplicable)
            The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, fapp/rcab1e)

            The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, t/applicuble.)

     fl The  defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, el seq.)
        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
            works, is a student, or was convicted of a qualifying offense. (Check, fapp/rcab1e)
     El The defendant shall participate in an approved program for domestic violence. (Check, ifapphcobfe.)
            If this judgment imposes a fine or restitution, it is a conditön of probation that thedefendant pay in accordance with the Sthedule of
     Payments sheet of this judgment.
               The defendant trust comply with the standard conditions that have been adopted bythis court as well as with any additional conditions
     on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
       1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)     the defendant shall support his or her dependents and meet other family responsibilities;
       5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
       6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7)    the defendant shall refrain from excessive use of alcohol and shalt not purchase, possess, use, distribute, or administer any controlled
             substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
             felony, unless granted permission to do so by the probation officer;
      10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
             contraband observed in plain view of the probation officer;
      11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcennt officer;
      12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
             permission of the court; and
      13)    as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defenctint's criminal
             record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
             defendant's compliance with such notification requirement.
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AO 245B     (Rev. 09/I1) Judgment in a Criminal Case
            Sheet 4C - Probation

                                                                                                       Judgment Page: 3 of 5
 DEFENDANT: CYNTHIA MOORE SULLEN
 CASE NUMBER: 2:1 1cr179-MEF-01

                                          SPECIAL CONDITIONS OF SUPERVISION
  1) The defendant shall participate in a program approved by the United States Probation Office for substance abuse,
  which may include testing to determine whether the defendant has reverted to the use of illegal drugs. The defendant shall
  contribute to the cost of any treatment based on ability to pay and the availability of third-party payments.

  2) The defendant shall provide the probation officer any requested financial information.

  3) The defendant shall not incur new credit charges or open additional lines of credit without approval of the Court unless
  in compliance with the payment schedule.

  4) The defendant shall participate in a mental health treatment program approved by the United States Probation Office
  and shall contribute to the cost based on ability to pay and the availability of third-party payments.

  5) The defendant shall submit to a search of his person, residence, office and vehicle pursuant to the search policy of this
  court.

  6) That defendant maintain full-time employment based upon her abilities and the treatment that she is undergoing to the
  satisfaction of the USPO.
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AO 245R          (Rev. 09/I1) Judgment in a Criminal Case
V1                Sheet 5—Criminal Monetary Penalties

                                                                                                                         Judgment Page: 4 of 5
     DEFENDANT: CYNTHIA MOORE SULLEN
     CASE NUMBER: 2:11cr179-MEF-01
                                                    CRIMINAL MONETARY PENALTIES
          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                         Assessment                                          Fine                              Restitution
 TOTALS                $ 100.00                                           $ 0.00                             $ $8,840.00


     El The determination of restitution is deferred until                    . An Amended Judgment in a Criminal Case (AO 245C) will be entered
          after such determination.

     El   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
          the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
          before the United States is paid.

     Name of Payee                                                      Total Loss*               Restitution Ordered Priority or Percentage



      See Attached Detailed List                                                                             $8,840.00




 TOTALS                                                                                  $0.00               $8,840.00


 El Restitution amount ordered pursuant to plea agreement S

 El The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(0. All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

          The court determined that the defendant does not have the ability to pay interest and it is ordered that:

              the interest requirement is waived for the          El fine V restitution.

          El the interest requirement for the           El fine     El restitution is modified as follows:



  Findings for the total anDunt of losses are required under Chatters 109A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
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         CRIMINAL MONETARY PENALTIES (Attachment to Page4 of the Judgment)

USA
                                             2:11cr179-MEF-01
V.

CYNTHIA SULLEN

 $300        Great American Cash Advance
             Attn: Bruce Cogle
             3672 Airport Boulevard
             Mobile, AL 36608
 $400        Money Now
             Attn: Dennis Goldman
             P.O. Box 2928
             Meridian, MS 39302
 $750        Approved Cash Advance
             Attn: Daniel Milsaps
             1855 Executive Park Drive
             Cleveland, TN 37320
 $800        Express Check Advance (Express Financial Services)
             Attn: Traci Fant
             2034 Hamilton Place, Blvd., Suite 100
             Chattanooga, TN 37421
 $500        Check into Cash
             Attn: Leigh Anna Hollis
             201 Keith Street SW, Suite 80
             Cleveland, TN 37311
 $200        Title Loan Express
             Attn: Brandon Wood
             3391 Pelham Parkway, Ste A
             Pelham, AL 35215
 $1,000     Advance America Cash/Advance America/Advance Cash America
            Attn: Jeff Newman
            P0 Box 3058
            Spartanburg, SC 29304
 $400       Emergi Cash
            Attn: David Jones
            4240 Carmichael Road
            Montgomery, AL 36106
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$500       Advance Check Express
           Attn: Jeb Smith
           5300 Oakbrook Parkway, Suite 200
           Norcross, GA 30093
$500       QC Financial Services
           Attn: Matt Wiltinger
           9401 Indian Creek Pkwy #1500
           Overland Park, Kansas 66210
$300       EZ Cash
           (address to be provided)
           Huntsville, AL
$640       Cash Express
           Attn: Dianne Britt
           810 A Boll Weevil Circle
           Enterprise, AL 36330
$150       Cash Mart
           Attn: Buck Wilson
           115 S. Marion Street
           Athens, AL 35611
$500       Speedy Cash
           (address to be provided)
           Enterprise, AL
$400       Quick Cash, Inc
           (address to be provided)
           Birmingham, AL
$500       Cash Depot
           (address to be provided)
           Birmingham, AL
$500       Car Title Loans
           Attn: Kevin Britton
           715 Skyland Blvd., Suite 1
           Tuscaloosa, AL 35405
$500       Chip's Title
           Attn: Pat Williams
           2235 E. South Blvd.
           Montgomery, AL 36116
                  Case 2:11-cr-00179-MEF-CSC Document 249 Filed 07/05/12 Page 7 of 7

AO 2458       (Rev. 09/11) Judgineni in a Criminal Case
v)            Sheet 6—Schedule of Payments
                                                                                                                             Judgment Page: 5 of 5
 DEFENDANT: CYNTHIA MOORE SULLEN
 CASE NUMBER: 2:11cr179-MEF-01


                                                          SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A V Lump sum payment of$ 8,940.00                               due immediately, balance due

            LI   not later than                                       , or
             J in accordance                    C,         D,    fl     E, or E"F below; or

 B LI Payment to begin immediately (maybe combined with                       El C,           D, or LI F below); or

 C    LI Payment in equal                             (e.g., weekly, monthly. quarterly) installments of S                            ovcr a period of
                            (e.g., months or years), to commence                       (e.g.. 30 or 60 days) after the date of this judgment; or

 D    LI Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                          (e.g., months or years), to commence                       (e.g. 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E    LI Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F          Special instructions regarding the payment of criminal monetary penalties:
            Any balance of the restitution remaining at the start of supervision shalt be paid at a rate of not less than $147.00 per month.
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101.



 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of crininal monetary penalties is due during
 imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 LI Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including deJirndanl number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 LI The defendant shall pay the cost of prosecution.

 LI The defendant shall pay the following court cost(s):

 LI The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
